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 1 MCGREGOR W. SCOTT
   United States Attorney
 2 ROBERT J. ARTUZ
   Special Assistant U.S. Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5

 6 Attorneys for Plaintiff
   United States of America
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 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                         CASE NO. 2:18-CR-0266-WBS
12                               Plaintiff,            STIPULATION REGARDING EXCLUDABLE
                                                       TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                         v.                          FINDINGS AND ORDER
14   JOSHUA BILAL GEORGE,                              DATE: April 13, 2020
                                                       TIME: 9:00 a.m.
15                                                     COURT: Hon. William B. Shubb
                                 Defendant.
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18          This case was set for a motion hearing on April 13, 2020, on defendant’s motion to suppress. On

19 April 7, 2020, the Court denied the defendant’s motion and vacated the hearing date. ECF 119.

20          On March 17, 2020, this Court issued General Order 611, which suspends all jury trials in the

21 Eastern District of California scheduled to commence before May 1, 2020. This General Order was

22 entered to address public health concerns related to COVID-19.

23          Although the General Order addresses the district-wide health concern, the Supreme Court has

24 emphasized that the Speedy Trial Act’s end-of-justice provision “counteract[s] substantive

25 openendedness with procedural strictness,” “demand[ing] on-the-record findings” in a particular case.

26 Zedner v. United States, 547 U.S. 489, 509 (2006). “[W]ithout on-the-record findings, there can be no
27 exclusion under” § 3161(h)(7)(A). Id. at 507. And moreover, any such failure cannot be harmless. Id.

28 at 509; see also United States v. Ramirez-Cortez, 213 F.3d 1149, 1153 (9th Cir. 2000) (explaining that a

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 1 judge ordering and ends-of-justice continuance must set forth explicit findings on the record “either

 2 orally or in writing”).

 3          Based on the plain text of the Speedy Trial Act—which Zedner emphasizes as both mandatory

 4 and inexcusable—the General Order requires specific supplementation. Ends-of-justice continuances

 5 are excludable only if “the judge granted such continuance on the basis of his findings that the ends of

 6 justice served by taking such action outweigh the best interest of the public and the defendant in a

 7 speedy trial.” 18 U.S.C. § 3161(h)(7)(A). Moreover, no such period is excludable unless “the court sets

 8 forth, in the record of the case, either orally or in writing, its reason or finding that the ends of justice

 9 served by the granting of such continuance outweigh the best interests of the public and the defendant in
10 a speedy trial.” Id.

11          The General Order excludes delay in the “ends of justice.” 18 U.S.C. § 3161(h)(7) (Local Code

12 T4). Although the Speedy Trial Act does not directly address continuances stemming from pandemics,

13 natural disasters, or other emergencies, this Court has discretion to order a continuance in such

14 circumstances. For example, the Ninth Circuit affirmed a two-week ends-of-justice continuance

15 following the eruption of Mt. St. Helens. Furlow v. United States, 644 F.2d 764 (9th Cir. 1981). The

16 court recognized that the eruption made it impossible for the trial to proceed. Id. at 767-68; see also

17 United States v. Correa, 182 F. Supp. 326, 329 (S.D.N.Y. 2001) (citing Furlow to exclude time

18 following the September 11, 2001 terrorist attacks and the resultant public emergency). The coronavirus

19 is posing a similar, albeit more enduring, barrier to the prompt proceedings mandated by the statutory

20 rules.
21          In light of the societal context created by the foregoing, this Court should consider the following

22 case-specific facts in finding excludable delay appropriate in this particular case under the ends-of-

23 justice exception, § 3161(h)(7) (Local Code T4). If continued, this Court should designate a new date

24 for the TCH and trial. United States v. Lewis, 611 F.3d 1172, 1176 (9th Cir. 2010) (noting any pretrial

25 continuance must be “specifically limited in time”).

26                                              STIPULATION

27          1.      By previous order, this matter was set for hearing on April 13, 2020, on defendant’s

28 motion to suppress. On April 7, 2020, the Court denied the motion and vacated the hearing date.

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 1         2.      By this stipulation, the parties now move to set a further status conference on June 8,

 2 2020, and to exclude time between April 13, 2020, and June 8, 2020, under Local Code T4.

 3         3.      The parties agree and stipulate, and request that the Court find the following:

 4                 a)      The government has represented that the discovery associated with this case

 5         includes several tens of thousands of pages of investigative reports, Social Security records, bank

 6         records, toll records, cellphone extractions, social media, emails, and related documents in

 7         electronic form. All of this discovery has been either produced directly to counsel and/or made

 8         available for inspection and copying.

 9                 b)      Counsel for defendant desire additional time to consult with their client, to review

10         the current charges, to conduct investigation and research related to the charges, to review

11         discovery for this matter, to discuss potential resolutions with their client, and to otherwise

12         prepare for trial.

13                 c)      Counsel for defendant believe that failure to grant the above-requested

14         continuance would deny them the reasonable time necessary for effective preparation, taking into

15         account the exercise of due diligence.

16                 d)      The government does not object to the continuance.

17                 e)      In addition to the public health concerns cited by General Order 611 and

18         presented by the evolving COVID-19 pandemic, an ends-of-justice delay is particularly apt in

19         this case because counsel and other relevant individuals have been encouraged to telework and

20         minimize personal contact to the greatest extent possible, and it will be difficult to avoid personal

21         contact should the hearing or a trial proceed.

22                 f)      Based on the above-stated findings, the ends of justice served by continuing the

23         case as requested outweigh the interest of the public and the defendant in a trial within the

24         original date prescribed by the Speedy Trial Act.

25                 g)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

26         et seq., within which trial must commence, the time period of April 13, 2020 to June 8, 2020,

27         inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]

28         because it results from a continuance granted by the Court at defendant’s request on the basis of

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 1          the Court’s finding that the ends of justice served by taking such action outweigh the best interest

 2          of the public and the defendant in a speedy trial.

 3          4.     Nothing in this stipulation and order shall preclude a finding that other provisions of the

 4 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

 5 must commence.

 6          IT IS SO STIPULATED.

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     Dated: April 10, 2020                                    MCGREGOR W. SCOTT
 8                                                            United States Attorney
 9
                                                              /s/ ROBERT J. ARTUZ
10                                                            ROBERT J. ARTUZ
                                                              Special Assistant U.S. Attorney
11

12
     Dated: April 10, 2020                                    /s/ DANIEL OLMOS (w/ permission)
13                                                            JEREMY M. DELICINO
14                                                            DANIEL B. OLMOS
                                                              Counsel for Defendant
15                                                            Joshua Bilal George

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19                                          FINDINGS AND ORDER

20          IT IS SO FOUND AND ORDERED.

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     Dated: April 10, 2020
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